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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11, 2001         03 MDL 1570 (GBD)(SN)


This document relates to:
Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN)

       [PROPOSED] ORDER OF FINAL JUDGMENT AS TO LIABILITY AND FOR
    PARTIAL FINAL DAMAGES JUDGMENT AGAINST THE ISLAMIC REPUBLIC OF
           IRAN FOR NON-U.S. NATIONAL PLAINTIFF MANU DHINGRA

          Upon consideration of the evidence and arguments submitted by non-U.S. National

Plaintiff Manu Dhingra in the above-captioned matter as specifically identified in Exhibit A, (the

“Personal Injury Plaintiff”), together with the entire record in the case, IT IS HEREBY

          ORDERED that the cause of action for survival in Amended Complaint, Burnett v.

Islamic Republic of Iran, No. 15-CV-9903 (GBD) (SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53

(individual case docket), 1 as adopted in the short-form complaint in Susan M. King, et al. v.

Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN) (“King”), ECF No. 1 (individual case

docket), is a cause of action for both assault and battery upon which the Personal Injury Plaintiff

may move for a damages judgment; and it is further

          ORDERED that service of process in King was effected upon Defendant Islamic

Republic of Iran (“Iran”) in accordance with 28 U.S.C. § 1608(a) for sovereign defendants; and it

is further

          ORDERED that the Court has subject-matter jurisdiction over the common law claims of

the Personal Injury Plaintiff, pursuant to 28 U.S.C. § 1605B; and it is further




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    All ECF numbers are to the MDL docket unless stated otherwise.

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        ORDERED that the Court has subject-matter jurisdiction over Iran under the common

law for actions arising out of assault and battery based on the intentional acts of international

terrorism perpetrated on September 11, 2001 that intentionally targeted innocent civilians

resulting in death, personal injury, and significant grief sustained by family members of those

killed in the attacks; and it is further

        ORDERED that judgments as to liability are entered for the Personal Injury Plaintiff for

his common law claims; and it is further

        ORDERED that the Personal Injury Plaintiff identified in the attached Exhibit A is

awarded a compensatory damages judgment against Iran for assault and battery commensurate

with the injuries sustained during the September 11, 2001 terrorist attacks, in accordance with

prior precedent in the U.S. District Court for the District of Columbia in similar cases (and

factoring in an upward departure on damages values based on the indelible impact of the

September 11, 2001 terrorist attacks); AND,

        ORDERED that the Personal Injury Plaintiff identified in Exhibit A, is awarded

economic damages in the amount set forth in Exhibit A; and it is further

        ORDERED that the Personal Injury Plaintiff is awarded prejudgment interest at the rate

of 4.96 percent per annum, compounded annually for the period from September 11, 2001 until

the date of the judgment for damages; and it is further

        ORDERED that the Personal Injury Plaintiff may apply for punitive damages, economic

damages, and other appropriate damages, at a later date; and it is further

        ORDERED that all other Plaintiffs in the litigations not appearing in the attached Exhibit

A may submit applications for damages awards in later stages, to the extent such awards have

not previously been addressed.



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         Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion

at ECF No. 9152.

                                                SO ORDERED:



                                                GEORGE B. DANIELS
                                                United States District Judge
Dated:    New York, New York
          ___________ __, 202_




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